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                                             UNPUBLISHED


                             UNITED    STATES       COURT   OF APPEALS
                                 FOR    THE       FOURTH    CIRCUIT




                                             No.   09-4710
                                                                                    I       I
UNITED    STATES      OF AMERICA,
                                                                                   MAR 2 5 2010
                        Plaintiff       -    Appellee,
                                                                             CLERK, U.S. DISTRICT COURT
                                                                                ALEXANDRIA, VIRGINIA
               v.



SKYLAR MARTI         SCHNIPPEL,


                        Defendant       -    Appellant.




Appeal    from        the    United     States       District        Court      for     the     Eastern
District        of    Virginia,        at      Alexandria.              Leonie        M.    Brinkema,
District       Judge.        (1:09-cr-00072-LMB-l)



Submitted:           February 25,       2010                      Decided:         March 25,       2010



Before    KING        and    GREGORY,        Circuit       Judges,      and     HAMILTON,        Senior
Circuit    Judge.



Affirmed       in    part,    vacated        in    part,    and   remanded        by       unpublished
per   curiam opinion.



Thomas    M.    Dawson,       Leavenworth,           Kansas,      for    Appellant.             Neil   H.
MacBride,       United       States         Attorney,       Daniel      J.    Grooms,        Assistant
United States Attorney,               Alexandria,          Virginia,         for Appellee.



Unpublished opinions            are not binding precedent                     in this       circuit.
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PER    CURIAM:


               After            a     bench           trial,          Skylar           Marti        Schnippel                   was


convicted          of    conspiracy             to        distribute         heroin,             the    use      of        which


resulted       in       death       and    serious             bodily       injury,          in   violation                of    21


U.S.C.        §§    841(a)(l),                 (b) (1) (A)            and        846        (2006)          (Count              1),


possession          with      intent           to    distribute             heroin         resulting             in    death,


in    violation          of    21     U.S.C.          §   841 (a) (1),           (b)(l)(C)             (Count         2),       and


obstruction             of    justice,               in    violation             of     18       U.S.C.          §    1503(a)


(2006)       (Count      4) .       The        judgment          reflects         that       Schnippel               also       was


convicted          of        distribution                 of     heroin          resulting             in     death,             in


violation          of    21     U.S.C.           §    841 (a) (1) ,          (b) (1) (C)          (Count             3).         On


appeal,       Schnippel             argues           that       the    evidence            was    insufficient                   to


show    his    involvement                in     the       conspiracy            and       his    distribution                   of


heroin       resulting          in       serious          bodily       injury          and    death         to       another.


He    also    claims          the        twenty-year                 minimum       statutory            sentence                for


the    drug    convictions                is     unconstitutional                     in    light       of       Spears          v.


United       States,            129       S.        Ct.        840     (2009);          Kimbrough             v.       United


States,       552       U.S.        85    (2007);              and    United          States       v.       Booker,             543


U.S.    220        (2005).          Finding           no       error,       we    affirm          the    convictions.


We    also    find       no     merit          to     the       claim       that       the    minimum            statutory


sentence       is       unconstitutional.                       However,          because         the       judgment             is


inconsistent             with       the        oral       findings          made       at    the        conclusion               of


the    bench        trial,          we     vacate              the    sentence             and    remand             for        the
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limited      purpose            of       having        the          district        court       enter         a    revised


judgment         that reflects                 the oral         findings.

                  When      a       defendant             challenges              the     sufficiency              of     the


evidence,         this      court           considers           whether       the       evidence,          when viewed


in    the    light         most         favorable          to        the    Government,             was       sufficient


for    a     rational            trier          of        fact        to     have       found        the        essential


elements         of     the     crime          beyond           a    reasonable           doubt.              Glasser      v.


United      States,         315         U.S.    60,       80    (1942);       United          States       v.     Stewart,


256    F.3d       231,         250       (4th       Cir.        2001).            If    substantial               evidence


exists       to       support           a     verdict,              the    verdict        must       be       sustained.


Glasser,          315      U.S.          at     80.            This        court       does     not        review         the


credibility           of    witnesses               and    assumes          the    factfinder             resolved        all


contradictions                 in       the     testimony             in     favor        of    the        Government.


United      States         v.    Sun,         278     F.3d      302,        313    (4th      Cir.        2002).         "[A]n


appellate          court's               reversal              of     a     conviction              on     grounds         of


insufficient             evidence              should          be     confined           to     cases         where       the


prosecution's              failure             is    clear."               United       States       v.       Jones,      735


F.2d    785,       791      (4th         Cir.       1984)           (citation       and       internal          quotation


marks      omitted).


                  Under         21      U.S.C.        §    841 (b) (1) (A) ,            if     it    is       found      that


death       or    serious            bodily          injury          resulted           from    the        use      of    the


heroin       during         the         course        of       the        conspiracy,          the       defendant         is


subjected          to      a        twenty-year                minimum        sentence.                  In       order    to


establish         beyond            a       reasonable              doubt    the        final       element         of    the
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offense,        the     Government              must    show        that       the         victim's              use    of    the


heroin      received         from      Schnippel            was    a     but      for       cause       of       her    death.


See    United         States        v.         Hatfield,           591       F.3d          945,        948        (7th       Cir.


2010) .         It    is    not     necessary           to    show       that       the          serious          injury       or


death      be    foreseeable              to     the       defendant.                  Id.         If        a    defendant


supplies         the       drugs       the      use     of        which        results            in     the          victim's


death,      then       the    element           is    proven        and       the          defendant             is    subject


to    an   enhanced         mandatory minimum                     sentence.                See    United          States       v.


De La Cruz,           514    F.3d      121,      137       (1st Cir.         2008).


                 We        find      the        evidence           is     more             than        sufficient              to


establish        that       Schnippel's              involvement             in    the       drug       conspiracy             on


March      4,   2008,       led     to    the    victim dying                of    a       heroin       overdose.              He


was    actively        involved           in    procuring           the      heroin          and       making          sure    it


got    into     the victim's              hands      the night           she died.


                 We     further          find     Schnippel's                sentencing             argument             to    be


without         merit.             The         Supreme        Court           held          in     Kimbrough                 that


"sentencing             courts           remain         bound           by        the        mandatory                 minimum


sentences            prescribed            [by       the     Anti-Drug              Abuse          Act           of    1986] ."


Kimbrough,            552    U.S.         at     107.         Other          circuits             have           held    that,


after      Kimbrough,          district           courts          are    generally               not    authorized             to


sentence         a     defendant               below       the      statutory                minimum.                   United


States v.            Harris,        531       F.3d     507,       516        (7th      Cir.        2008)              ("because


Harris's        sentence          of     240     months       reflects            the       statutory             mandatory


minimum,         there         is        no     need         to     remand             .     .     .     pursuant              to
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Kimbrough");            United       States          v.    Black,        523       F.3d       892,    892-93             (8th


Cir.     2008)      ("Kimbrough            .    .    .    does     not       authorize          district             courts


to    sentence        below    the        Congressionally-mandated                            statutory minimum


sentences.").


                 However,            because              the      judgment              of      conviction                 is


inconsistent            with       the    oral           findings        made       at    the       conclusion              of


the      bench     trial,          we     vacate          the      judgment          and       remand           for        the


limited      purpose          of     having          the       district         court          enter       a        revised


judgment         that    reflects          the       oral        findings.           At       the    close          of     the


bench      trial,       the   district              court      specifically declined                       to       rule    on


Count      Three,       finding          it     should           merge    with       Count          Two,       of     which


Schnippel        was     found by         the        court       to be       guilty.           The    court          stated


"there's         no     sense        in        finding           the     defendant             guilty           of       both


counts.          I'm    going        to       find       him     guilty       of    Count        2    ....                   I


think      that       that     is        more        than        sufficient."                   (J.A.       at        441).

Subsequently,            the       court        stated           "in    my    view,           [Counts]          2    and     3


should      merge       so     that       the        final        judgment          order        would          indicate


conspiracy,           Count     1,       and    the       conviction           on    Count          2."         (J.A.       at


442) .      The     judgment         indicates             Schnippel          was    guilty          of     Counts          1,


2    and    3,     as    well        as        Count        4.          Because          the    district              court


specifically did not                    find Schnippel                 guilty of          Count      3,     on       remand


the      judgment        should          be     revised            to    reflect           the       court's             oral


findings         in this      regard.
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                  At     the      conclusion               of     the    bench       trial,              the    district


court       also       found      beyond         a    reasonable             doubt        that       Schnippel            was

responsible            for       1000    grams,            or     one       kilogram,          of    heroin.              The


judgment,          however,         indicates              Schnippel          was    guilty          of    conspiracy


to    distribute         100      grams      of       heroin,          the    use    of    which          resulted          in


death       and     serious            bodily         injury,           in    violation              of        21    U.S.C.


§§    846    and       841(a)(l),            (b) (1) (A) .              A    finding        of       100        grams       of


heroin       exposes         a    defendant            to       being       sentenced          under           21    U.S.C.


§    841(b)(1)(B).               On     remand,            this    typographical               error           should       be


corrected           to       show       Schnippel                was        guilty        of        conspiracy              to


distribute          1000     grams      of heroin.


                  Accordingly,              we       affirm       the       convictions             and    vacate          the


sentence          and      remand        for          the        limited       purpose              of     having          the


district       court         enter      a    revised             judgment          that    reflects             the       oral


findings      made       at      the    conclusion of               the      bench    trial.              We        dispense


with    oral       argument           because         the        facts       and    legal        contentions               are


adequately             presented            in       the        materials          before           the        court       and


argument would not                 aid the decisional process.


                                                                                            AFFIRMED                IN   PART,
                                                                                               VACATED              IN   PART,
                                                                                                         AND        REMANDED
